            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

United States of America,                             )
                                                      )
                               Plaintiff,             )
                                                      )
       v.                                             )       Criminal Action Number
                                                      )       07-00007-02/03-CR-W-HFS
Philip F. Cardarella and                              )
Katheryn J. Shields                                   )
                                                      )
                               Defendant.             )


                               Report and Recommendation

       Pending before the Court is the MOTION TO DISMISS THE INDICTMENT DUE TO SELECTIVE

AND VINDICTIVE PROSECUTION filed March 16, 2007 (Doc. #73) and the MOTION TO DISMISS

THE INDICTMENT DUE TO THE UNCONSTITUTIONAL APPOINTMENT OF THE INTERIM UNITED

STATES ATTORNEY also filed March 16, 2007 (Doc. #74) by defendants Philip F. Cardarella

(“Cardarella”) and Katheryn J. Shields (“Shields”). Having reviewed the pleadings of the

parties, the Court concludes that no evidentiary hearing or discovery on the issues is required1

and, for the reasons set out herein, the Court recommends that both motions to dismiss be denied.




       1
                 It is well settled that the decision as to whether to hold an evidentiary hearing
and/or permit discovery is vested in the Court’s discretion. In this case, as set out in more detail
infra, the Court concludes that Cardarella and Shields have “failed to raise specific facts
sufficient to raise a significant doubt that the government’s decision to prosecute” them was
vindictive or selective so as to warrant either an evidentiary hearing or discovery regarding their
allegations. See, e.g., United States v. Kelley v. United States, 152 F.3d 881, 886 (8th Cir. 1998);
United States v. Hirsch, 360 F.3d 860, 864 (8th Cir. 2004) (“In order to obtain discovery, [a
defendant] had to produce at least some credible showing of differential treatment).


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       The case involves an alleged attempt to defraud a lending agency in connection with the

sale of a residence owned by Cardarella and Shields as husband and wife. The purported

organizer of the fraudulent activity, co-defendant Ronald Zwego, is alleged to have created a

false selling price for the residence of $1.2 million by utilizing an inflated appraisal and straw-

party buyers (who would not repay the mortgage loan). Cardarella and Shields were going to

receive $707,000 of the sales proceeds (essentially their asking price for their residence) with

Zwego and other dividing the remaining sales proceeds.

       In order to establish a prima facie case of selective prosecution, Cardarella and Shields

must show (1) that people similarly situated to them were not prosecuted, and (2) the decision to

prosecute them was motivated by a discriminatory purpose. Hirsch, 360 F.3d at 864; United

States v. Perry, 152 F.3d 900, 903 (8th Cir. 1998). The burden on a criminal defendant has been

appropriately2 characterized as “a heavy one. . . requir[ing] a showing of intentional and

purposeful discrimination.” United States v. Matter, 818 F.2d 653, 654-55 (8th Cir. 1987)

(citations omitted). In support of their allegation of selective prosecution, Cardarella and Shields

note that in other mortgage fraud federal lawsuits in the Western District of Missouri, the home

sellers have not been indicted. Responding to that bare assertion, the Government notes:

               [Not counting the current case], no less than thirteen mortgage
               fraud cases have been filed in the Western District of Missouri
               involving no less than twenty-three defendants. Over the last three
               years, these prosecutions have included all of the participants in
               the real estate transaction, including sellers.



       2
                The burden is heavy because “so long as the prosecutor has probable cause to
believe that the accused committed an offense defined by statute, the decision whether or not to
prosecute and what charge to file . . . generally rests entirely in [the prosecutor’s] discretion.”
Bordenkircher v. Hayes, 434 U.S. 357, 364, 98 S.Ct. 663, 668 (1978).

                                                  2


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Thereafter Shields and Cardarella filed a pleading with the Court noting that the Government had

failed “to identify even one similarly-situated3 home seller” and, as such, “the Government’s

burden” was not met. However, in fact, the burden of establishing a claim of selective

prosecution lies with the defendants and not the Government. To that end, Cardarella and

Shields have failed to meet their burden as to the first element of selective prosecution.

       Moreover, even if there was evidence that Cardarella and Shields were being prosecuted

for actions for which others have not been prosecuted by the U.S. Attorney’s office, Cardarella

and Shields would still bear the heavy burden of additionally establishing that the decision to

prosecute them was motivated by a discriminatory purpose. Again, the evidence presented by

Cardarella and Shields falls short on specific facts.

       In the briefing with the Court, Shields alleges that she and her husband have been singled

out for prosecution “because [Shields] is an outspoken, sometimes controversial, Democrat” and

because she was about to enter the 2007 Kansas City, Missouri mayoral race, following her

tenure of 12 years as the Jackson County (Mo.) Executive. Cardarella and Shields also point out

that the U.S. Attorney who indicted them was appointed by a Republican administration that has

come under recent media4 scrutiny regarding the “politicalization” of the Department of Justice



       3
                Cardarella and Shields distinguish the other home sellers who have been indicted
in the Western District Missouri, arguing that those sellers were alleged to be the “hubs” of their
respective fraudulent conspiracies. The degree of complicity in organizing and carrying out a
conspiracy may be a factual difference when comparing cases, but it cannot serve as a basis for
establishing a prima facie case of selective prosecution.
       4
               The “evidence” primarily relied upon by Cardarella and Shield to support their
claims of selective prosecution are mainly newspaper accounts of the scandal in Washington
concerning the firing of U.S. Attorneys. Those allegations have recently been expanded to
include, possibly, the former U.S. Attorney for the Western District of Missouri.

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and the hiring/firing of U.S. Attorneys. While Cardarella and Shields raise many questions and

advance several theories, they fail to produce any specific facts that might raise significant doubt

as to the Government’s decision to prosecute them and whether that decision could be

characterized as a showing of intentional and purposeful discrimination so as to support a claim

of selective prosecution.

       In a similar vein, Cardarella and Shields further argue that their current prosecution is the

result of a vendetta against them by the Department of Justice and the local U.S. Attorney’s

Office. In order to prevail on a claim of vindictive prosecution, Cardarella and Shields bear the

burden of establishing governmental vindictiveness, in the sense of bad faith or malice. Hursch,

360 F.3d at 864; Kelley, 152 F.3d at 885. For similar reasons as set out above, while Cardarella

and Shields raise many theories, they have come forward with no facts that relate to their

particular prosecution. It is highly likely that, to some extent, most criminal defendants feel as if

their prosecution is instead persecution. Without specific facts suggesting that the Government’s

motives were improper, the Court will not assume that vindictiveness lurks beneath this

indictment. 5




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                Cardarella and Shields also raise an argument that the conduct of the prosecutors
in seeking an indictment against them violated the provisions of the Hatch Act, 5 U.S.C. §§
7321-26. The Court rejects the argument. Cardarella and Shields lack standing to assert an
allegation of a violation of the Hatch Act against a government employee. Moreover, the Court
concludes that even if the Hatch Act can be utilized by a criminal defendant to seek a dismissal
of an indictment, the reach of the Hatch Act is no greater than the scope of dismissals for
selective and/or vindictive prosecution. As such, the Court’s findings regarding an insufficiency
of evidence on those theories necessitates a similar finding as to any purported Hatch Act
violation.

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       On March 24, 2006, the then-U.S. Attorney for the Western District of Missouri, Todd P.

Graves, resigned from the office. Thereafter, pursuant to the provisions of 28 U.S.C. § 546(a),

the Attorney General appointed Bradley J. Schlozman as the new U.S. Attorney. Mr. Schlozman

was the U.S. Attorney at the time Cardarella and Shields were indicted. Cardarella and Shields

finally argue that the indictment against them must be dismissed because the appointment of Mr.

Schlozman as the U.S. Attorney was unconstitutional. The argument is frivolous.

       As a general rule, U.S. Attorneys are nominated by the President and, if confirmed by the

Senate, are then appointed by the President for a term of four years. 28 U.S.C. § 541(a-b). In

the event that the office of the U.S. Attorney becomes vacant, the Attorney General is given the

authority to appoint an Interim U.S. Attorney. Specifically, 28 U.S.C. § 546 provides:

               (a)    Except as provided in subsection (b), the Attorney General
                      may appoint a United States attorney for the district in
                      which the office of United States attorney is vacant.

               (b)    The Attorney General shall not appoint as United States
                      attorney a person to whose appointment by the President to
                      that office the Senate refused to give advice and consent.

               (c)    A person appointed as United States attorney under this
                      section may serve until the qualification of a United States
                      Attorney for such district appointed by the President under
                      section 541 of this title.

28 U.S.C. § 546. This provision was enacted into law on March 9, 2006, as part of the USA

Patriot Improvement and Preauthorization Act of 2005, Pub.L. No. 109-177, § 502, 120 Stat.

192, 246 (2006).




       Cardarella and Shields argue that section 546 is unconstitutional inasmuch as it permits

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the appointment of U.S. Attorneys without subjecting them to confirmation by Senate pursuant

to the Appointments Clause of the U.S. Constitution. U.S. CONST. art. II, §2, cl. 2. However,

the Constitution itself does not require that U.S. attorneys be subjected to the advice and consent

of the Senate. Indeed, the office of U.S. Attorney only came about because Congress created the

position in the Judiciary Act of 1789. 1 Stat. 92-93. In that same statute, Congress decided to

subject a President’s appointment of a U.S. Attorney to the advice and consent of the Senate.

However, for numerous practical reasons, provisions had to be made for the appointment of U.S.

Attorneys for interim periods when one U.S. Attorney had left office, but no new U.S. Attorney

had been confirmed by the Senate. Prior to the 2006 amendment to section 546, the law

provided a slightly alternative means for handling such vacancies.

       (a)     Except as provided in subsection (b), the Attorney General may
               appoint a United States attorney for the district in which the office
               of United States attorney is vacant.

       (b)     The Attorney General shall not appoint as United States attorney a
               person to whose appointment by the President to that office the
               Senate refused to give advice and consent.

       (c)     A person appointed as United States attorney under this section
               may serve until the earlier of–

               (1)     the qualification of a United States attorney for such
                       district appointed by the President under section 541 of this
                       title; or

               (2)     the expiration of 120 days after appointment by the
                       Attorney General under this section.

       (d)     If an appointment expires under subsection (c)(2), the district court
               for such district may appoint a United States attorney to serve until
               the vacancy is filled. The order of appointment by the court shall
               be filed with the clerk of the court.

28 U.S.C. § 546 (2005) [repealed].

       Inasmuch as the prior version of section 546 was deemed constitutional, see, e.g., U.S. v.

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Hilario, 218 F.3d 19, 24-29 (1st Cir. 2000); U. S. v. Solomon, 216 F.Supp. 835, 840-43 (S.D.N.Y.

1963), it seems settled that there is no Constitutional defect with the employment of a method for

appointing a U.S. Attorney without the advice and consent of the Senate. Without examining the

wisdom of Congress’ 2006 amendment to section 546, it seems evident that Congress – which

initially created the position of U.S. Attorney and established the methodology for appointment

to the position – is free to to change that appointment methodology, at least with respect to

interim appointments.

       Moreover, even if the the U.S. Attorney “interim appointment” provision of the Patriot

Act is improper and unconstitutional, the indictment against Cardarella and Shields still would

not be rendered invalid for that reason alone. Certainly, a district court lacks jurisdiction to

entertain a criminal case if it appears that the Government “lacked power to prosecute the

defendant.” United States v. Fitzhugh, 78 F.3d 1326, 1330 (8th Cir.1996).6 However, an

appointment of a U.S. Attorney that is not made as provided by the Appointments Clause does

not affect the Government’s power to indict or prosecute a criminal defendant. Indeed, the law

does not even require U.S. Attorneys to sign indictments in any criminal case, capital or

otherwise. The law merely requires that the indictment must be signed “by an attorney for the

government.” FED. R. CRIM. P. 7(c)(1). In this case, the indictment against Cardarella and


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                 In Fitzhugh,, the Eighth Circuit held that an indictment obtained by an
Independent Counsel who may have exceeded his authority did not affect the government's
power to prosecute and thus did not deprive the district court of jurisdiction. Id.; accord United
States v. Easton, 937 F.2d 160, 162 (5th Cir.1991) (holding that a district court’s jurisdiction was
not affected even though the Assistant U.S. Attorney who signed the indictment had been
directed to do so by a United States Attorney who was disqualified to participate in the
prosecution of the case); United States v. Coppola, 526 F.2d 764, 772-73 (10th Cir.1975)
(implying that the presence of a Department of Justice “special attorney” in the grand jury room,
in violation of FED. R. CRIM. P. 6(d), did not raise a jurisdictional issue).

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Shields was signed by an Assistant U.S. Attorney, Linda Parker Marshall. There is certainly no

evidence in this case that Ms. Marshall was not a legally authorized attorney for the government

at the time the indictment was handed down.

        Accordingly, it is

        RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order DENYING the MOTION TO DISMISS THE INDICTMENT DUE TO

SELECTIVE AND VINDICTIVE PROSECUTION filed March 16, 2007 (Doc. #73) and the MOTION TO

DISMISS THE INDICTMENT DUE TO THE UNCONSTITUTIONAL APPOINTMENT OF THE INTERIM

UNITED STATES ATTORNEY also filed March 16, 2007 (Doc. #74) by defendants Philip F.

Cardarella and Katheryn J. Shields.

        Counsel are reminded that each has 10 days from the date of receipt of a copy of this

report and recommendation to file and serve specific objections to the same. A failure to file and

serve timely objections shall bar attack on appeal of the factual findings in this report which are

accepted or adopted by the district judge except upon the ground of plain error or manifest

injustice.



                                                        /s/ John T. Maughmer
                                                    John T. Maughmer
                                                United States Magistrate Judge




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